         Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 1 of 10




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:


     NOTICE OF DEFENDANT’S OBJECTIONS TO THE COURT’S FINAL JURY
       INSTRUCTIONS AND ADDITIONAL REQUESTED INSTRUCTIONS
       During a hearing held on July 21, 2022, the Court provided the parties with a copy of the

jury instructions it was proposing to give in this case, subject to a consideration of the parties’

objections. The Court also entertained discussion of a proposed instruction by the Government

and two additional proposed instructions by the Defendant.1 Mr. Bannon entered objections to

the Government’s newly proposed instruction and reiterates and incorporates those here.

       Previously, on July 17, 2022, Mr. Bannon sent an email to the Court’s chambers, as

directed by the Court, concerning the matter of jury instructions and voir dire, and he filed by

ECF his proposed jury instructions and objections to proposed jury instructions. [Doc. 120]. He


1
 The two additional proposed instructions from the Defendant are set out herein. They were
provided to the Court during the July 21, 2022 hearing and they were provided to the
Government by email in advance of the hearing. The Government objected to both. It appears
from the final instructions the Court has advised the parties by email that it intends to actually
give to the jury, the Government’s objections to these additional defense proposed instructions
were sustained and no part of these two additional proposed instructions is included in the final
instructions the Court intends to give. Mr. Bannon formally indicates here his objection to the
decision to exclude these two additional proposed instructions. They reflect the defense theory of
the case, based on the narrow defense permitted to the Defendant, they reflect accurate
propositions of the law and the application of the relevant factual circumstances in this case to
the law and the defense theory is not reflected anywhere in the final instructions the Court has
advised that it intends to give.
        Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 2 of 10




reiterates and incorporates herein his requested proposed instructions and his objections in Doc.

120. Mr. Bannon, through counsel, made additional submissions related to jury instructions

through email submissions to chambers as directed and reiterates and incorporates those herein

as well. Mr. Bannon also reiterates and incorporates herein the objections he made during the

July 21, 2022, hearing and all other objections and proposals related to the jury instructions

previously made in this case.

       Mr. Bannon now makes the following objections to the Court’s final instructions

provided to the parties by email on July 21, 2022:

   1. Instruction 13: Mr. Bannon respectfully submits that the instruction read in full context

       does not adequately reflect for the jury the role of the presumption of innocence. Mr.

       Bannon respectfully submits that the instruction should end with words to the following

       effect: The defendant is presumed innocent as a matter of law at all times unless or until

       the government proves him guilty beyond a reasonable doubt. Even if this concept is

       reflected elsewhere, it is required in this instruction as well for balance and to avoid jury

       confusion on an important legal concept.

   2. Instruction 17: Mr. Bannon reserves the right to object to the Verdict Form when final

       copies have been provided by the Court and to make any objection to this related

       instruction.

   3. Instruction 24:

       A. Mr. Bannon objects to this instruction for the reasons and for reasons previously

           stated. Mr. Bannon respectfully asserts that this key instruction on the elements of

           the offense must use the language of the statute “willfully makes default” not a

           colloquial alternative. The instruction as provided by the Court usurps the jury’s role

                                                 2
 Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 3 of 10




   by transforming “willfully makes default” into “willfully not providing testimony and

   information” or a “willful failure to provide testimony” or a “willful failure to

   produce documents.” These terms could perhaps be used for further clarification to

   distinguish between Counts 1 and 2; but the language of the statute must be used. It

   is the jury’s function to determine if the Defendant acted “willfully” and it is the

   jury’s function whether the Defendant willfully made a “default.” Mr. Bannon

   provided a proposed definition of “default” [Doc. 120] and submits that it should be

   used. But in any event, he objects to the Court’s instruction insofar as it deviates

   from the language of the statute.

B. Next, Mr. Bannon objects to Instruction 24 because it entirely omits the relevant dates

   as charged in the indictments. Those dates are material parts of the charges in the

   indictment and the jury must be focused on that. As asserted during the hearing on

   July 21, 2022, for example, if the jury were to find that the Defendant willfully failed

   to provide testimony to the Committee on a date other than on October 14, 2021, for

   example, because that date had been extended expressly or implicitly by Committee

   letters after October 14, 2021, he must be find not guilty under Count 1. That is

   especially material here, in light of the defense the Court has permitted – a belief that

   the dates were not fixed dates and inferences from the Committee letters that other

   dates for compliance were encouraged. The same objection is made for the failure to

   use the date stated in Count 2 as well. This is particularly important because the date

   is an element of the offense charged and it is a different date from the date in the

   subpoena. The indictment charges a specific date in Count 1 for the commission of

   the alleged crime and a “by” date in Count 2. The failure to include them and explain



                                         3
 Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 4 of 10




   their material significance usurps the jury’s role and in effect allows a conviction by a

   something less than proof of every element beyond a reasonable doubt, denying Mr.

   Bannon due process and his right to a jury trial and other Fifth and Sixth Amendment

   rights.

C. Mr. Bannon objects to the colloquial language instead of the statutory language

   throughout Instruction 24, including in the Third and Fourth elements section.

D. Mr. Bannon also objects to the inclusion in Instruction 24 of the litany of things that

   do not constitute a defense to the charges, especially in the absence of any indication

   of what does constitute a defense and the absence of any reference to the specific

   defense permitted by the Court and advanced by the Defendant.

E. Mr. Bannon objects to the failure to include the specific theory of defense instructions

   he submitted or any formulation of the defense theory whatsoever. The effect of

   Instruction 24 and the instructions as a whole is to fail to adequately (if at all) instruct

   the jury as to what could constitute a defense other than general terms “inadvertence,”

   “accident,” or “mistake.” There must be a far more informative explanation of what

   “mistake” means in this context and an explanation of the defense of “mistake of

   fact” as a concept and put into meaningful context for the specific parameters of

   mistake of fact in this case by this Defendant. Mr. Bannon reiterates his request for

   the inclusion of his mistake of fact/defense theory proposed instruction (or some

   variation on it that encompasses its elements) presented in hard copy at the July 21,

   2022, hearing and provided to the Court hereinbelow.

F. Mr. Bannon objects to the last sentence of Instruction 24, especially because it is

   confusing in the context of this case and the defense contention that the Committee’s



                                          4
 Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 5 of 10




   urging of compliance after the subpoena date led to his belief (perhaps a mistake of

   fact) that there had been no default and that compliance then would mean no default.

   Nowhere does Instruction 24 or any other instruction apprise the jury of the defense

   of mistake of fact as applied in the instant case and Mr. Bannon objects. The failure

   to include his mistake of fact theory of defense is especially prejudicial in light of the

   language in Instruction 24 that apparently is intended to eliminate a mistake of law

   defense. There is no reasonable way to expect a jury to read this language and

   believe, especially in the absence of an instruction, that Mr. Bannon has put forward

   a mistake of fact defense.

G. Especially if the Court is to include, as Instruction 24 does, a provision that a belief

   that executive privilege excuses compliance is no defense, it should include an

   instruction that if the jury finds that executive privilege was invoked, that is a defense

   and, specifically that it would negate the “willfully” prong as well as the default

   prong.

Mr. Bannon respectfully objects to the Court’s failure to include his proposed instructions

and to the denial of his objections to the government’s proposed instructions and to the

Court’s instructions.

There is nothing in the Court’s instructions, with all due respect, from which the jury

could understand that the specific mistake of fact defense the Court permitted as Mr.

Bannon’s only defense is actually a defense in the case. There is nothing in the

instructions, for example, that would allow the jury to understand that if it concluded

from the exchange of the Costello/Thompson letters, along with the Trump/Costello

letters and the Committee’s July 14, 2022 letter, that it (the jury) could infer from these

                                          5
        Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 6 of 10




       letters that Mr. Bannon believed that the dates were flexible and had been extended, he

       either would have been right and there was no default or he would have made a mistake

       of fact that is a viable defense to the charge and specifically to the “willfully” element,

       even under the restrictive definition of that term to which Mr. Bannon has objected.

       The following are the Defendant’s additional proposed instructions provided to the Court

by hard copy on July 21, 2022, and Mr. Bannon respectfully requests that they be included in the

actual instructions to be given for the reasons asserted during the July 21, 2022, hearing.

           DEFENDANT’S ADDITIONAL PROPOSED JURY INSTRUCTIONS
                                         1.   Mistake of Fact
The Defendant, Stephen K. Bannon, contends that he believed that the dates for
compliance with the subpoena were not fixed and were flexible and subject to change and
that therefore he did not act “willfully” in failing to comply with the subpoenas by the
dates set out in the indictment. If you find that Mr. Bannon honestly and reasonably
believed, based on the exchange of letters between his lawyer, Mr. Costello and the
Committee, or because of Mr. Bannon’s past experience with subpoenas, or because of his
executive privilege claim, or because of his belief that negotiations were ongoing as part of
an accommodation process, that the dates for his compliance with the subpoena, either for
the production of documents on October 7, 2021 or for his appearance to testify on October
14, 2021, were not fixed dates, but were subject to extension, such that he believed he could
still comply with the subpoena after the dates in the subpoena, then he would not have
acted “willfully” as charged in the indictment and you must find him not guilty.
(Redbook) Instruction 9.600 DEFENSES OF ACCIDENT AND MISTAKE--NOTE
Defenses of accident and mistake of fact (or non-penal law) have potential application to any
case in which they could rebut proof of a required mental element. See, e.g., Clark v. U.S., 593
A.2d 186, 194, n.14 (D.C. 1991) ("[T]he prosecution is required to prove beyond a reasonable
doubt that the killing was intentional or not accidental," quoting Annotation, Homicide: Burden
of Proof on Defense that Killing was Accidental, 63 A.L.R. 3d 936, 941 (1975)). In Morgan v.
D.C., 476 A.2d 1128 (D.C. 1984), the District of Columbia Court of Appeals clarified that a
mistake of fact or non-penal law can negate general intent as well as specific intent: "[w]hile
general intent is frequently defined as the intent to do the prohibited act, it also requires the
absence of an exculpatory state of mind (e.g., mental disease, reasonable mistake of fact)." Id. at
1132 (citing R. Perkins & R. Boyce, Criminal Law, pp. 831-32 (3d ed. 1982)). The court
observed the closeness of the concepts of "mistake of fact" and "mistake of non-penal law,"
offering the example of a trespasser who lacks criminal intent by reason of a mistaken but

                                                 6
        Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 7 of 10




reasonable belief that a prescriptive easement applies. "The mistake may be as to the actual
length of time that adverse use has continued (mistake of fact) or as to the time required to
establish a prescriptive easement (mistake of law)." Id. at 1133 n.4. These defenses are not
confined to assault cases. See, e.g., Simms v. D.C., 612 A.2d 215 (D.C. 1992) (affirming
abandonment as mistake of fact defense in the context of tampering with a vehicle, where intent
is required); Clark v. U.S., 593 A.2d 186 (D.C. 1991) (discussing accident in context of second-
degree murder); Goddard v. U.S., 557 A.2d 1315 (D.C. 1989) (finding trial court's refusal to
instruct jury on abandonment in the context of unauthorized use of a vehicle was reversible
error).
The hallmark of a mistake of fact defense is that "the defendant's belief was honest and
reasonable." Simms, 612 A.2d at 219 (citing Williams v. U.S., 337 A.2d 772, 774-75 (D.C.
1975)). A mistake-of-fact defense cannot rest solely upon the defendant's voluntary intoxication.
See Cooper v. U.S., 680 A.2d 1370, 1372 (D.C. 1996) (trial court did not err in precluding
argument that defendant's drug use supported her defense of mistake in a Bail Reform Act
prosecution).
The D.C. Court of Appeals has cautioned against shifting the burden of proof to the defendant, in
the context of the defenses of accident and mistake. See Clark, 593 A.2d at 194 (finding it was
error to instruct that the jury must find for the defendant "if you are satisfied that [his theory of
accident] is what happened."); Simms, 612 A.2d at 219 (finding it was error to conclude
defendant could not interpose mistake of fact defense of abandonment unless he proved
abandonment by clear, unequivocal and decisive evidence).
The Committee concluded that no general pattern instruction on these defenses could
adequately provide for the range of contexts in which they arise, without resorting to a
confusing array of alternative selections. The Court of Appeals has made it clear that a
defense theory instruction tailored to the facts of the individual case is appropriate for this
kind of defense. See, e.g., Clark, 593 A.2d at 194-95. (emphasis added)
See also Abney v. U.S., 616 A.2d 856 (D.C. 1992) (holding that mistaken belief in constitutional
law defense does not support a bona fide defense theory); Wiggins v. U.S., 521 A.2d 1146 (D.C.
1987) (finding mistake of fact a valid defense as to defendant's belief of legitimacy of twenty-
dollar bill); Gaetano v. U.S., 406 A.2d 1291 (D.C. 1979) (discussing "bona fide belief" defense
to unlawful entry); Leiss v. U.S., 364 A.2d 803, 809 (D.C. 1976) (same); Jackson v. U.S., 357
A.2d 409, 411 (D.C. 1976) (holding that a bona fide belief must have some reasonable basis
before an accused can claim that such belief exonerates his behavior); Smith v. U.S., 281 A.2d
438, 439-40 (D.C. 1971) (holding that it is not sufficient that an accused merely claim a belief of
a right to enter; a bona fide belief must have some reasonable basis).
"Legal impossibility occurs when a defendant's actions, or actions a defendant causes, even if
fully carried out, would not constitute a crime." German v. U.S., 525 A.2d 596, 606-07 (D.C.
1987) (citations omitted). When a defendant's objective "is to do something that is not a crime,"
there is a defense of legal impossibility. In re Doe, 855 A.2d 1100, 1106 (D.C. 2004). However,
"factual impossibility, where the intended substantive crime is impossible of accomplishment


                                                 7
        Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 8 of 10




merely because of some physical impossibility unknown to the defendant, is not a defense." Id.
at 1106 (citing 2 Wayne R. LaFave, Substantive Criminal Law § 11.5(a), at 231 (2d ed. 2003)
("We have no reason to think that it would be a defense in the District of Columbia to a charge of
attempted enticement of a child that the defendant was fooled because his target was in reality an
undercover law enforcement officer."). "Factual impossibility occurs when the objective of the
defendant is proscribed by the criminal law, but a circumstance unknown to the actor prevents
him or her from bringing about that objective." German, 525 A.2d at 607 (citing U.S. v. Oviedo,
525 F.2d 881, 883 (5th Cir. 1976)) (recognizing legal but not factual impossibility "is often
elusive," however, "it may be more useful to inquire whether a defendant had the requisite mens
rea and performed substantive acts in furtherance of a criminal objective." In re Doe, 855 A.2d at
1106 n.10.
                                       2.   Waiver of Default
The Defendant contends that, through their conduct, the Committee waived any default
that might have occurred, and that, therefore any default that might have occurred by not
complying with the subpoena by the dates set out in the subpoena was excused by the
Committee, based on their wish to get the documents and testimony the Committee sought
from Mr. Bannon. A party’s conduct, including a continued insistence on performance
after a purported default date has passed, can constitute a waiver of a default.
Accordingly, even if you were to find that Mr. Bannon did not comply with the subpoenas
by the dates provided in the subpoenas, if you find, from the Committee’s conduct or
words, written or spoken, that the Committee continued to insist on compliance with the
subpoena, even after the dates in the subpoena had passed, then you may infer from the
Committee’s conduct or words that the Committee waived any default that had occurred.
A waiver of default need not be expressly stated, but may be inferred from conduct
inconsistent with an intent to enforce that right.2 Whether a waiver of any default
occurred is for you as the trier of the facts to determine. If you find that a default might
have occurred, but that the Committee waived any default, then you must find Mr. Bannon
not guilty.
Dated: July 21, 2022                         Respectfully submitted,

                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                /s/ M. Evan Corcoran
                                             M. Evan Corcoran (D.C. Bar No. 440027)

                                              Riane A. White (Pro Hac Vice)
                                             400 East Pratt Street – Suite 900

2
 Nortel Networks, Inc. v. Gold & Appel Transfer, S.A., 298 F. Supp. 2d 81, 87-88 (D. D.C. 2004)
(“Intent to waive a known right need not be expressly stated but may be inferred from conduct
inconsistent with an intent to enforce that right.”); See also, Bowen v. Horgan, 295 N.Y. 267,
269, 181 N.E. 567 (1932).
                                                8
Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 9 of 10




                            Baltimore, MD 21202
                            Telephone: (410) 385-2225
                            Facsimile: (410) 547-2432
                            Email: ecorcoran@silvermanthompson.com

                               /s/ David I. Schoen
                            David I. Schoen (D.C. Bar No. 391408)
                            David I. Schoen, Attorney at Law
                            2800 Zelda Road, Suite 100-6
                            Montgomery, Alabama 36106
                            Telephone: (334) 395-6611
                            Facsimile: (917) 591-7586
                            Email: schoenlawfirm@gmail.com

                            Counsel for Defendant Stephen K. Bannon




                               9
        Case 1:21-cr-00670-CJN Document 126 Filed 07/21/22 Page 10 of 10




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of July 2022, a copy of the Defendant’s

Additional Proposed Jury Instructions was served via the Court’s CM/ECF system on registered

parties and counsel.


                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)




                                            10
